                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20       Desc
                                                                                                     Main Document    Page 1 of 12


                                                                   1   Debra I. Grassgreen (CA Bar No. 169978)
                                                                       Malhar S. Pagay (CA Bar No. 189289)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, California 90067
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       E-mail: dgrassgreen@pszjlaw.com
                                                                   5           mpagay@pszjlaw.com
                                                                   6   Attorneys for Richard M. Pachulski, Chapter 11 Trustee
                                                                   7
                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                   8
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                   9                                      LOS ANGELES DIVISION
                                                                  10   In re:                                           Case No. 2:17-bk-19548-NB
                                                                  11   LAYFIELD & BARRETT, APC,                         Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                   Debtor.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                        STIPULATION RE: TRUSTEE’S MOTION
                                                                                                                        FOR ORDER APPROVING SURCHARGE
                                                                  14                                                    OF SECURED CREDITOR’S
                                                                                                                        COLLATERAL
                                                                  15

                                                                  16                                                    [Relates to Docket Nos. 239, 263, 271]
                                                                  17

                                                                  18                                                    Date:    April 17, 2018
                                                                                                                        Time:    2:00 p.m.
                                                                  19                                                    Place:   United States Bankruptcy Court
                                                                                                                                 Edward R. Roybal Federal Building
                                                                  20                                                             255 E. Temple Street, Ctrm. 1545
                                                                                                                                 Los Angeles, California 90012
                                                                  21                                                    Judge:   Hon. Neil W. Bason
                                                                  22

                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28


                                                                       DOCS_LA:313589.1 51414/001
                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20                Desc
                                                                                                     Main Document    Page 2 of 12


                                                                   1
                                                                               Richard M. Pachulski (“Trustee”), the Chapter 11 Trustee of the bankruptcy estate of
                                                                   2
                                                                       Layfield & Barrett, APC (“L&B” or the “Debtor”), and Wellgen Standard, LLC (“Wellgen” and,
                                                                   3
                                                                       together with the Trustee, the “Parties”), successor-in-interest to Advocate Capital, Inc.
                                                                   4
                                                                       (“Advocate”), by and through their respective counsel, hereby stipulate and agree as follows in
                                                                   5
                                                                       accordance with the following facts and recitals:
                                                                   6
                                                                                                                   RECITALS
                                                                   7
                                                                               A.       On August 7, 2016, L&B executed an amended and restated master loan and security
                                                                   8
                                                                       agreement in favor of Advocate (collectively, with various numerous prior loan agreements, the
                                                                   9
                                                                       “Loan Agreement”). The Loan Agreement grants Advocate a continuing security interest in various
                                                                  10
                                                                       collateral including, but not limited to, the following (the “Collateral”):
                                                                  11
                                                                                        All accounts, instruments, chattel paper, general intangibles, payment
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                    intangibles (all as defined in Article 9 of the Code), and all similar
                                                                                        rights that Borrower [L&B] may have of every nature and kind,
                                        LOS ANGELES, CALIFORNIA




                                                                  13                    including specifically and without limitation, all of Borrower’s rights
                                           ATTORNEYS AT LAW




                                                                                        to receive payment or otherwise, for legal and other services rendered
                                                                  14                    and to be rendered, and for costs and expenses advanced and to be
                                                                                        advanced, and all other rights and interest that Borrower may have in
                                                                  15                    and with respect to each and every Client Matter.

                                                                  16
                                                                               B.       On August 3, 2017 (the “Petition Date”), petitioning creditors The Dominguez Firm,
                                                                  17
                                                                       Inc., Mario Lara, Nayazi Reyes and Maria A. Rios (the “Petitioning Creditors”), filed an involuntary
                                                                  18
                                                                       petition for relief under chapter 7 of the Bankruptcy Code, 11 U.S.C. §§ 101, et seq. (the
                                                                  19
                                                                       “Bankruptcy Code”), against L&B [Docket No. 1], in this Court thereby commencing the above-
                                                                  20
                                                                       captioned bankruptcy case (the “Case”). That same day, the Petitioning Creditors filed an
                                                                  21
                                                                       Emergency Motion for Appointment of an Interim Trustee Under 11 U.S.C. § 303(g) and Granting
                                                                  22
                                                                       Emergency Relief [Docket No. 3] (the “Trustee Motion”).
                                                                  23
                                                                               C.       In response to the Trustee Motion, the Debtor filed a Motion to Convert Case Under
                                                                  24
                                                                       11 U.S.C. §§ 706(a) or 1112(a) on August 8, 2017 [Docket No. 19] (the “Conversion Motion”),
                                                                  25
                                                                       seeking to convert the Case to one under chapter 11 of the Bankruptcy Code. On August 11, 2017,
                                                                  26
                                                                       the Court entered orders granting the Conversion Motion [Docket No. 25], and denying the Trustee
                                                                  27
                                                                       Motion [Docket No. 24]. The Order for Relief in the Case also was entered effective August 11,
                                                                  28
                                                                       2017 [Docket No. 99].
                                                                                                                         1
                                                                       DOCS_LA:313589.3 51414/001
                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20              Desc
                                                                                                     Main Document    Page 3 of 12


                                                                   1
                                                                               D.       On August 16, 2017, the Debtor, Petitioning Creditors, and Advocate entered into a
                                                                   2
                                                                       Stipulation for the Appointment of a Chapter 11 Trustee [Docket No. 38] (the “Trustee Appointment
                                                                   3
                                                                       Stipulation”), on the grounds that “the Parties believe that all creditors and the Debtor would be
                                                                   4
                                                                       better served by the appointment of a chapter 11 trustee,” which the Court approved by order on
                                                                   5
                                                                       August 17, 2017 [Docket No. 42]. Trustee Appointment Stipulation ¶ D at 2.
                                                                   6
                                                                               E.       On August 21, 2017, the United States Trustee (the “UST”) filed its Notice of
                                                                   7
                                                                       Appointment of Chapter 11 Trustee, appointing Richard M. Pachulski as Chapter 11 Trustee in the
                                                                   8
                                                                       Case [Docket No. 51]. Also on August 21, 2017, the UST filed an Application for Order Approving
                                                                   9
                                                                       Appointment of Chapter 11 Trustee [Docket No. 53], which application was granted by the Court’s
                                                                  10
                                                                       order entered the following day [Docket No. 56]. On August 28, 2017, the Trustee filed his
                                                                  11
                                                                       Acceptance of Appointment as Chapter 11 Trustee [Docket No. 63].
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                               F.       On October 17, 2017, Advocate filed a Complaint for: (1) Declaratory Relief; and
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       (2) Turnover of Property of the Estate Pursuant to 11 U.S.C. § 542 in the Case, thereby commencing
                                                                  14
                                                                       an adversary proceeding in this Court now entitled Wellgen Standard, LLC v. Maximum Legal
                                                                  15
                                                                       (California), LLP, et al. and bearing number 2:17-ap-01503-NB (the “Teitelbaum Proceeding”).
                                                                  16
                                                                       Through the Teitelbaum Proceeding, Wellgen seeks the payment to the Debtor’s bankruptcy estate
                                                                  17
                                                                       of legal fees earned and costs incurred (the “Teitelbaum Fee”) in connection with the resolution of
                                                                  18
                                                                       litigation filed in the Superior Court of the State of California for the County of Los Angeles entitled
                                                                  19
                                                                       Teitelbaum v. Lyft, Inc., et al., and bearing Case No. 596036. On November 17, 2017, Joseph M.
                                                                  20
                                                                       Barrett (“Barrett”) filed Joseph M. Barrett’s Answer, Counterclaims, and Crossclaims for (1)
                                                                  21
                                                                       Quantum Meruit; (2) Enforce Attorney’s Charging Lien; and (3) for Declaratory Relief [Adv. Pro.
                                                                  22
                                                                       Docket No. 7], pursuant to which, among other relief, Barrett asserts cross-claims against the Trustee
                                                                  23
                                                                       and seeks a determination as to Barrett’s rights to fees and costs arising from former L&B matters in
                                                                  24
                                                                       connection with which Barrett allegedly performed services subsequent to his departure from L&B
                                                                  25
                                                                       (the “Barrett Cross-Claim”).
                                                                  26
                                                                               G.       Subsequent to the commencement of the Case, Advocate assigned the Loan
                                                                  27
                                                                       Agreement and its claims against the Debtor arising therefrom to Wellgen, Advocate’s parent
                                                                  28
                                                                       company.
                                                                                                                          2
                                                                       DOCS_LA:313589.3 51414/001
                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20              Desc
                                                                                                     Main Document    Page 4 of 12


                                                                   1
                                                                               H.       On February 22, 2018, the Trustee filed a Complaint for Avoidance and Recovery of
                                                                   2
                                                                       Fraudulent Transfers and for Unjust Enrichment (the “Layfield V Complaint”) in the Case, thereby
                                                                   3
                                                                       commencing an adversary proceeding in this Court entitled Richard M. Pachulski v. Layfield V, LLC
                                                                   4
                                                                       and Philip Layfield, and bearing number 2:18-ap-01050-NB (the “Layfield V Proceeding”). As
                                                                   5
                                                                       asserted in the Layfield V Complaint, through the Layfield V Proceeding, the Trustee seeks the
                                                                   6
                                                                       avoidance and recovery of transfers made on April 7, 2017, of certain real property located in
                                                                   7
                                                                       Summit County, Utah.
                                                                   8
                                                                               I.       On February 27, 2018, the Trustee filed a Motion for Order Approving Settlement
                                                                   9
                                                                       with The Dominguez Firm, Inc., with Respect to the Matter of Rose Pineda, et al. v. County of
                                                                  10
                                                                       Riverside, et al. [Docket No. 240] (the “Pineda Settlement Motion”), through which the Trustee
                                                                  11
                                                                       sought Court approval of a settlement that would allow the bankruptcy estate to recover an estimated
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       $530,952.60 (the “Pineda Settlement Funds”). The Court granted the Pineda Settlement Motion by
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       order entered on April 5, 2018 [Docket No. 274].
                                                                  14
                                                                               J.       Also on February 27, 2018, the Trustee filed the Trustee’s Motion for Order
                                                                  15
                                                                       Approving Surcharge of Secured Creditor’s Collateral [Docket No. 239] (the “Surcharge Motion”),
                                                                  16
                                                                       pursuant to which the Trustee requested that the Court enter an order approving the surcharge of
                                                                  17
                                                                       Wellgen’s Collateral for the payment of certain fees and costs incurred by the Trustee and his
                                                                  18
                                                                       counsel, in the aggregate amount of $704,830.29. Wellgen filed an opposition to the Surcharge
                                                                  19
                                                                       Motion [Docket No. 263].
                                                                  20
                                                                               K.       On March 13, 2018, the Trustee and The Homampour Law Firm (“THLF”) entered
                                                                  21
                                                                       into a stipulation [Docket No. 2050] (the “THLF Stipulation”) regarding the issuance of a subpoena
                                                                  22
                                                                       to THLF relating to certain transfers (the “THLF Transfers”) in the aggregate approximate amount
                                                                  23
                                                                       of $1 million belonging to the Debtor on account of attorneys’ fees and costs incurred in connection
                                                                  24
                                                                       with litigation entitled Dominguez v. Crown Equipment (C.D. Cal., Case No. 2:14-cv-07935-SVW-
                                                                  25
                                                                       E). The Court approved the THLF Stipulation by order entered on March 16, 2018 [Docket No.
                                                                  26
                                                                       256].
                                                                  27
                                                                               L.       As of April 13, 2018, the Trustee, on behalf of the bankruptcy estate, is holding
                                                                  28
                                                                       $380,156.77 (the “Cash on Hand”), of which amount the Trustee believes $334,093.94 constitutes
                                                                                                                           3
                                                                       DOCS_LA:313589.3 51414/001
                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20                Desc
                                                                                                     Main Document    Page 5 of 12


                                                                   1
                                                                       Wellgen’s Collateral (the “Collateral Cash Amount”) and $46,062.83 does not (the “Non-Collateral
                                                                   2
                                                                       Cash Amount”).
                                                                   3
                                                                               WHEREAS the Parties seek to resolve their disputes regarding the Surcharge Motion.
                                                                   4
                                                                               NOW, THEREFORE, the Parties hereby agree as follows:
                                                                   5
                                                                                                                    STIPULATION
                                                                   6
                                                                               1.        The Parties incorporate the Recitals as set forth above, and such Recitals are made a
                                                                   7
                                                                       material part hereof
                                                                   8
                                                                               2.        The Surcharge Motion is granted, in part, and denied in part, as set forth herein.
                                                                   9
                                                                               3.        Allocation of Cash on Hand. The Collateral Cash Amount ($334,093.94) shall be
                                                                  10
                                                                       allocated and paid to each of the Parties as follows: Sixty percent (60%) to Wellgen ($200,456.36);
                                                                  11
                                                                       forty percent (40%) to the Trustee ($133,637.58); provided, however, that any portions of the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       Collateral Cash Amount that are the subject of the Barrett Cross-Claim shall not be paid to either of
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       the Parties except as authorized by the Court by separate order. One-hundred percent (100%) of the
                                                                  14
                                                                       Non-Collateral Cash Amount ($46,062.83) shall be allocated and paid to the Trustee.
                                                                  15
                                                                               4.        Allocation of Pineda Settlement Funds. When received by the Trustee, the Pineda
                                                                  16
                                                                       Settlement Funds (estimated to be $530,952.60) shall be allocated and paid to each of the Parties as
                                                                  17
                                                                       follows: Sixty percent (60%) to Wellgen ($318,571.56); forty percent (40%) to the Trustee
                                                                  18
                                                                       ($212,381.04).
                                                                  19
                                                                               5.        Allocation of Recoveries from Property Recovered through Layfield V
                                                                  20
                                                                       Proceeding. To the extent the Trustee avoids and recovers the transfers of real property through the
                                                                  21
                                                                       Layfield V Proceeding and the Debtor’s bankruptcy estate subsequently realizes net proceeds (after
                                                                  22
                                                                       satisfaction of all legal fees and costs incurred in connection with the prosecution of the Layfield V
                                                                  23
                                                                       Proceeding) on account of the disposition of such property, any such net proceeds shall be allocated
                                                                  24
                                                                       and paid to each of the Parties as follows: Twenty percent (20%) to Wellgen; eighty percent (80%)
                                                                  25
                                                                       to the Trustee.
                                                                  26
                                                                               6.        Allocation of Recoveries from THLF Transfers. To the extent the Trustee recovers
                                                                  27
                                                                       some or all of the THLF Transfers, the net proceeds recovered by the Trustee (after satisfaction of all
                                                                  28
                                                                       legal fees and costs incurred by the Trustee in connection with seeking and obtaining the return of
                                                                                                                             4
                                                                       DOCS_LA:313589.3 51414/001
                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20                Desc
                                                                                                     Main Document    Page 6 of 12


                                                                   1
                                                                       the THLF Transfers), shall be allocated and paid to each of the Parties as follows: Twenty percent
                                                                   2
                                                                       (20%) to Wellgen; eighty percent (80%) to the Trustee.
                                                                   3
                                                                               7.       Allocation of Teitelbaum Fee. To the extent Wellgen recovers some or all of the
                                                                   4
                                                                       Teitelbaum Fee through the Teitelbaum Proceeding, one-hundred percent (100%) of amounts
                                                                   5
                                                                       recovered on account of the Teitelbaum Fee shall be allocated and paid to Wellgen.
                                                                   6
                                                                               8.       Allocation of Future Recoveries of Collateral by Trustee. Except as specifically
                                                                   7
                                                                       allocated in this Stipulation, all Collateral hereafter collected by the Trustee shall be allocated and
                                                                   8
                                                                       paid to each of the Parties as follows: Sixty percent (60%) to Wellgen; forty percent (40%) to the
                                                                   9
                                                                       Trustee.
                                                                  10
                                                                               9.       Wellgen Allocation and Payments Limited by Wellgen's Obligations.
                                                                  11
                                                                       Notwithstanding any other provision of this Stipulation, in no event shall the aggregate repayment to
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       or for the benefit of Wellgen (or any successor in interest thereto) of the indebtedness and
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       obligations arising from the Loan Agreement (the "Obligations") from all sources (including,
                                                                  14
                                                                       without limitation, the Teitelbaum Proceeding, the allocations and payments contemplated in this
                                                                  15
                                                                       Stipulation, Philip Layfield or any other guarantor, or property securing the Obligations other than
                                                                  16
                                                                       the Collateral) exceed the amount of the Obligations. The allocations and payments to Wellgen
                                                                  17
                                                                       described in this Stipulation shall be reduced as necessary and appropriate to implement and give
                                                                  18
                                                                       effect to this provision.
                                                                  19
                                                                               10.      Trustee Allocation and Payments Limited by Trustee's Allowed Fees and
                                                                  20
                                                                       Expenses. Notwithstanding any other provision of this Stipulation, in no event shall the aggregate
                                                                  21
                                                                       repayment to or for the benefit of the Trustee (or any successor in interest thereto) exceed the
                                                                  22
                                                                       amount of the allowed fees and expenses of the Trustee and his counsel in the Case excluding any
                                                                  23
                                                                       Unrelated Litigation Costs (as hereinafter defined). The term "Unrelated Litigation Costs," as used
                                                                  24
                                                                       herein, means the fees and expenses incurred by the Trustee and its counsel in connection with the
                                                                  25
                                                                       Layfield V Proceeding, the THLF Transfers and the prosecution of other avoidance actions and
                                                                  26
                                                                       claims of the estate unrelated to recovery of the Collateral. The allocations and payments to the
                                                                  27
                                                                       Trustee described in this Stipulation shall be reduced as necessary and appropriate to implement and
                                                                  28
                                                                       give effect to this provision.
                                                                                                                           5
                                                                       DOCS_LA:313589.3 51414/001
                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20               Desc
                                                                                                     Main Document    Page 7 of 12


                                                                   1
                                                                               11.      Allocated Amounts Free and Clear of Claims of Other Party. All amounts
                                                                   2
                                                                       allocated through this Stipulation to Wellgen shall be free and clear of all claims by the Trustee and
                                                                   3
                                                                       the Debtor’s bankruptcy estate, including, without limitation, all rights of surcharge pursuant to
                                                                   4
                                                                       section 506(c) of the Bankruptcy Code. All amounts allocated through this Stipulation to the Trustee
                                                                   5
                                                                       on behalf of the Debtor’s bankruptcy estate shall be free and clear of all liens, claims and
                                                                   6
                                                                       encumbrances of Wellgen. Except as set forth herein, neither the Trustee nor any other person or
                                                                   7
                                                                       entity will be permitted to surcharge the Collateral or to obtain other relief under Bankruptcy Code
                                                                   8
                                                                       §506(c).
                                                                   9
                                                                               12.      Party Representations. Each Party hereby represents and warrants that: (a) such
                                                                  10
                                                                       Party and the signatory hereto has the power and authority to execute, deliver and perform this
                                                                  11
                                                                       Stipulation; (b) such Party has taken all necessary actions to authorize the execution, delivery and
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       performance of this Stipulation; (c) this Stipulation has been duly executed and delivered by such
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       Party and constitutes the legal, valid, and binding obligations of such Party, enforceable against it in
                                                                  14
                                                                       accordance with their respective terms; (d) such Party’s execution, delivery and performance of this
                                                                  15
                                                                       Stipulation does not and will not conflict with, or constitute a violation or breach of or constitute a
                                                                  16
                                                                       default under any obligation of such Party and will not violate any applicable law, or any order or
                                                                  17
                                                                       decree of any court of government instrumentality applicable to such Party; and (e) such Party has
                                                                  18
                                                                       entered into this Stipulation in reliance on its own independent investigation and analysis of the facts
                                                                  19
                                                                       underlying the subject matter of this Stipulation, and no representations, warranties, or promises of
                                                                  20
                                                                       any kind have been made directly or indirectly to induce it to execute this agreement other than those
                                                                  21
                                                                       that are expressly set forth in this Stipulation.
                                                                  22
                                                                               13.      Continuing Bankruptcy Court Jurisdiction. The Parties agree that the court
                                                                  23
                                                                       having jurisdiction over the Case shall have exclusive jurisdiction over any disputes regarding the
                                                                  24
                                                                       validity, interpretation or performance of this Stipulation, and each of the Parties consents to
                                                                  25
                                                                       personal jurisdiction and venue in the Court in connection with any such disputes.
                                                                  26
                                                                               14.      Voluntary Agreement. Each Party acknowledges that it has read all of the terms of
                                                                  27
                                                                       this Stipulation, has had an opportunity to consult with counsel of its own choosing or voluntarily
                                                                  28
                                                                       waived such right and enters into this Stipulation voluntarily and without duress.
                                                                                                                           6
                                                                       DOCS_LA:313589.3 51414/001
                                                                   Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20                Desc
                                                                                                     Main Document    Page 8 of 12


                                                                   1
                                                                               15.      Counterparts. This Stipulation may be executed in any number of counterparts,
                                                                   2
                                                                       each of which when so executed shall be deemed to be an original and all of which taken together
                                                                   3
                                                                       shall constitute one and the same Stipulation. Delivery of a signature page to this Stipulation by
                                                                   4
                                                                       facsimile or other electronic means shall be as effective as delivery of an original signature page to
                                                                   5
                                                                       this Stipulation.
                                                                   6
                                                                               16.      Joint Drafting. This Stipulation shall be deemed to have been jointly drafted by the
                                                                   7
                                                                       Parties, and in construing and interpreting this Stipulation, no provision shall be construed and
                                                                   8
                                                                       interpreted for or against any Party because such provision or any other provision of the Stipulation
                                                                   9
                                                                       as a whole was purportedly prepared or requested by such Party.
                                                                  10
                                                                               17.      Applicable Law. The validity, interpretation and performance of this Stipulation
                                                                  11
                                                                       shall be construed and interpreted according to the laws of the State of California.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                               18.      Entire Agreement. This document contains the entire agreement between the Parties
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       as to the subject matter thereof, and may only be modified in writing signed by the Parties or their
                                                                  14
                                                                       duly appointed agents. All prior agreements and understandings between the Parties concerning the
                                                                  15
                                                                       subject matter hereof are superseded by the terms of this Stipulation.
                                                                  16
                                                                               19.      Successors and Assigns. This Stipulation shall be binding on and inure to the benefit
                                                                  17
                                                                       of the Parties and their respective agents, employees, affiliates, successors and assigns.
                                                                  18
                                                                               20.      Payment to Trustee or Counsel. All amounts designated herein to be allocated or
                                                                  19
                                                                       paid to the Trustee may be paid to the Trustee or his counsel in the Trustee’s discretion as may be
                                                                  20
                                                                       permitted by the Court.
                                                                  21
                                                                               IN WITNESS WHEREOF, the Parties have executed this Stipulation as of the dates set
                                                                  22
                                                                       forth below.
                                                                  23

                                                                  24

                                                                  25

                                                                  26

                                                                  27

                                                                  28

                                                                                                                          7
                                                                       DOCS_LA:313589.3 51414/001
                 Case 2:17-bk-19548-NB            Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20         Desc
                                                   Main Document    Page 9 of 12


                 1    Dated: April17
                                   _, 2018                        PACHULSKI STANG ZIEHL & JONES LLP

                 2
                                                                  By       /s/Malhar S. Pagay
                 3                                                         Malhar S. Pagay
                                                                           Attorneys for Richard M. Pachulski, Chapter
                 4                                                         11 Trustee

                 5

                 6
                      Dated:         17 2018
                                 April_,                          BRADLEY ARANT BOULT CUMMINGS LLP
                 7

                 8
                                                                  By
                 9

                10                                                                   for Wellgen Standard, LLC

                11
I><
....l
....l
"'z             12
..,"'0    <
          ~
cid
 ....l    ~     13
:I:       3
          <
"'
N
          u

0
z
          g     14
 <
 E--
          ~
          <
"'>2       ~
           0    15
 "'::>...J "'
 :I:
 u              16
 <
I><

                17

                18

                19

                20

                21

                22

                23

                24

                25

                26

                27

                28

                                                                       8
                     DOCS_LA:313589.1 51414/001
        Case 2:17-bk-19548-NB                   Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20                                      Desc
                                                 Main Document    Page 10 of 12



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067


A true and correct copy of the foregoing document entitled (specify): STIPULATION RE: TRUSTEE’S MOTION
FOR ORDER APPROVING SURCHARGE OF SECURED CREDITOR’S COLLATERAL will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 17, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 17, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Layfield & Barrett, APC                           Layfield & Barrett, APC                             Philip James Layfield
Fka Layfield & Wallace, APC                       Fka Layfield & Wallace, APC                         Register No. 71408-050
Fka The Layfield Law Firm, APC                    Fka The Layfield Law Firm, APC                      MDC Los Angeles
Attn: Philip Layfield, Officer of                 Attn: Any Officer Other Than Philip                 Metropolitan Detention Center
Record                                            Layfield                                            P.O. Box 1500
2720 Homestead Rd., Suite 210                     2720 Homestead Rd., Ste. 210                        Los Angeles, CA 90053
Park City, UT 84098                               Park City, UT 84098

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 17, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL DELIVERY
Honorable Neil W. Bason
U.S. Bankruptcy Court
255 E. Temple Street, Room 940
Los Angeles, CA 90012
Attn: Mail Room Clerk-Judges Copies

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 17, 2018               Sophia L. Lee                                                   /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:308358.5 51414/002
        Case 2:17-bk-19548-NB                   Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20                                      Desc
                                                 Main Document    Page 11 of 12


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Mailing Information for Case 2:17-bk-19548-NB

       Jason Balitzer jbalitzer@sulmeyerlaw.com,
        jbalitzer@ecf.inforuptcy.com;dwalker@ecf.inforuptcy.com;kmccamey@sulmeyerlaw.com
       Moises S Bardavid mbardavid@hotmail.com
       Daniel I Barness daniel@barnesslaw.com
       James W Bates jbates@jbateslaw.com
       Martin J Brill mjb@lnbrb.com
       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Jennifer Witherell Crastz jcrastz@hemar-rousso.com, DBrotman@hrhlaw.com
       Beth Gaschen bgaschen@wgllp.com, kadele@wgllp.com;vrosales@lwgfllp.com;cyoshonis@lwgfllp.com
       Jeffrey I Golden jgolden@wgllp.com, kadele@wgllp.com;vrosales@lwgfllp.com
       James KT Hunter jhunter@pszjlaw.com
       Steven J Kahn skahn@pszyjw.com
       Joseph M Kar jkar@mindspring.com
       Richard W Labowe richardwlabowe@gmail.com, llhlaw1631@aol.com
       Dare Law dare.law@usdoj.gov, Kenneth.g.lau@usdoj.gov,Alvin.mar@usdoj.gov,ron.maroko@usdoj.gov
       David W. Meadows david@davidwmeadowslaw.com
       Rana Nader rnader@naderlawgroup.com, monique@naderlawgroup.com
       Joel A Osman osman@parkermillsllp.com, sanders@parkermillsllp.com
       Malhar S Pagay mpagay@pszjlaw.com, mpagay@pszjlaw.com
       Brian A Paino bpaino@mcglinchey.com, crico@mcglinchey.com;selizondo@mcglinchey.com
       Michael F Perlis mperlis@lockelord.com,
        merickson@lockelord.com,jhagey@lockelord.com,RRJohnson@lockelord.com,bmungaray@lockelord.com
       Michael F Perlis ,
        merickson@lockelord.com,jhagey@lockelord.com,RRJohnson@lockelord.com,bmungaray@lockelord.com
       Hamid R Rafatjoo hrafatjoo@raineslaw.com, bclark@raineslaw.com;cwilliams@raineslaw.com
       Faye C Rasch frasch@wgllp.com, kadele@wgllp.com;tziemann@wgllp.com
       Daniel H Reiss dhr@lnbyb.com, dhr@ecf.inforuptcy.com
       Damion Robinson dr@agzlaw.com
       Lindsey L Smith lls@lnbyb.com, lls@ecf.inforuptcy.com
       Daniel A Solitro dsolitro@lockelord.com, ataylor2@lockelord.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Alan J Watson alan.watson@hklaw.com, rosanna.perez@hklaw.com




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:308358.5 51414/002
        Case 2:17-bk-19548-NB                   Doc 281 Filed 04/17/18 Entered 04/17/18 13:15:20                                      Desc
                                                 Main Document    Page 12 of 12


2. SERVED BY UNITED STATES MAIL:

Patricia Salcedo                                  Diana B Sherman                                     Roger G Jones
The Dominguez Firm                                Law Offices of Diane B Sherman                      Austin L. McMullen
3250 Wilshire Blvd #2200                          1801 Century Park East Ste 1200                     Bradley Arant Boult Cummings LLP
Los Angeles, CA 90010                             Los Angeles, CA 90067                               1600 Division St Ste 700
                                                                                                      Nashville, TN 37203




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:308358.5 51414/002
